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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Gloria Morales
                                  Plaintiff,
v.                                                   Case No.: 1:16−cv−09683
                                                     Honorable Virginia M. Kendall
Novation Industries, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 28, 2017:


        MINUTE entry before the Honorable Virginia M. Kendall. Status hearing held on
6/28/2017. Pursuant to settlement, case is dismissed without prejudice with leave to
reinstate until 8/9/2017 at which time the dismissal will convert to to a dismissal with
prejudice. Civil case terminated. Mailed notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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